Case 2:19-cv-03256-GEKP Document1 Filed 07/25/19 Page 1 of 31
CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS DEFENDANTS

BOARD OF TRUSTEES OF THE LABORERS' DISTRICT COUNCIL HAYE CONSTRUCTION SERVICES, INC,
CONSTRUCTION INDUSTRY PENSION FUND et al.

(b) County of Residence of First Listed Plaintiff Philadelphia
(EXCEPT IN U.S. PLAINTIFF CASES)

JS 44 (Rev. 02/19)

 

County of Residence of First Listed Defendant Philadelphia
(IN U.S. PLAINTIFF CASES ONL¥)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED,

NOTE:

ma RaaHgsremssaam Name, Address, and Telephone Number) Attorneys (I/Known)

Susanin, Widman & Brennan, P.C.
656 East Swedesford Road, Suite 330, Wayne, PA 19087

 

 

II. BASIS OF JURISDICTION (Place an “X” in One Box Only) II. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X" in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
O 1 U.S. Government 3° Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State ai © 1 Incorporated or Principal Place o4 o4
of Business In This State
O 2. U.S, Government 0 4 Diversity Citizen of Another State OG 2 © 2 Incorporated and Principal Place os O85
Defendant (Indicate Citizenship of Parties in Item IT) of Business In Another State
Citizen or Subject of a O 3 OF 3 Foreign Nation o6 O86
Foreign Country

 

 

 

 

 

 

 

 

 

 

 

 

 

IV. NATURE OF SUIT (Place an “X” in One Box Only) Click here for: Nature of Suit Code Descriptions.
I CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES ]
© 110 Insurance PERSONAL INJURY PERSONAL INJURY — |0 625 Drug Related Seizure 422 Appeal 28 USC 158 0 375 False Claims Act
CG 120 Marine C 310 Airplane © 365 Personal Injury - of Property 21 USC 881 | 0 423 Withdrawal © 376 Qui Tam (31 USC
O 130 Miller Act 0 315 Airplane Product Product Liability 0 690 Other 28 USC 157 3729(a))
© 140 Negotiable Instrument Liability O) 367 Health Care/ © 400 State Reapportionment
O 150 Recovery of Overpayment | 0 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS O 410 Antitrust
& Enforcement of Judgment Slander Personal Injury O 820 Copyrights © 430 Banks and Banking
1 151 Medicare Act O 330 Federal Employers’ Product Liability 1 830 Patent © 450 Commerce
O 152 Recovery of Defaulted Liability © 368 Asbestos Personal O 835 Patent - Abbreviated OG 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application | 470 Racketeer Influenced and
(Excludes Veterans) O) 345 Marine Product Liability 1 840 Trademark Corrupt Organizations
O 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR SOCIAL SECURITY © 480 Consumer Credit
of Veteran’s Benefits 0 350 Motor Vehicle O 370 Other Fraud O 710 Fair Labor Standards O 861 HIA (1395ff) 0 485 Telephone Consumer
1 160 Steckholders’ Suits 0 355 Motor Vehicle O 371 Truth in Lending Act © 862 Black Lung (923) Protection Act
© 190 Other Contract ~ Product Liability O 380 Other Personal © 720 Labor/Management O 863 DIWC/DIWW (405(g)) | O 490 Cable/Sat TV
0 195 Contract Product Liability | 360 Other Personal Property Damage Relations O 864 SSID Title XVI OC 850 Securities/Commodities/
O 196 Franchise Injury O 385 Property Damage O 740 Railway Labor Act O 865 RSI (405(g)) Exchange
0 362 Personal Injury - Product Liability 6 751 Family and Medical O 890 Other Statutory Actions
Medical Malpractice Leave Act © 891 Agricultural Acts
l REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS _|Q 790 Other Labor Litigation FEDERAL TAX SUITS © 893 Environmental Matters
O 210 Land Condemnation 0 440 Other Civil Rights Habeas Corpus: Pf 791 Employee Retirement O 870 Taxes (U.S, Plaintiff © 895 Freedom of Information
O 220 Foreclosure 0 441 Voting O 463 Alien Detainee Income Security Act or Defendant) Act
O 230 Rent Lease & Ejectment 0 442 Employment O 510 Motions to Vacate O 871 IRS—Third Party 1 896 Arbitration
0 240 Torts to Land 0 443 Housing/ Sentence 26 USC 7609 0 899 Administrative Procedure
0 245 Tort Product Liability Accommodations O 530 General Act/Review or Appeal of
© 290 All Other Real Property 0 445 Amer. w/Disabilities -] 535 Death Penalty IMMIGRATION Agency Decision
Employment Other: © 462 Naturalization Application O 950 Constitutionality of
© 446 Amer. w/Disabilities -] J 540 Mandamus & Other [0 465 Other Immigration State Statutes
Other O 550 Civil Rights Actions
448 Education 0 555 Prison Condition
0 560 Civil Detainee -
Conditions of
Confinement

 

 

 

 

 

 

V. ORIGIN (Place an “x” in One Box Only)

M1 Original O02 Removed from
Proceeding State Court

O 6 Multidistrict
Litigation -
Transfer

O 3 Remanded from
Appellate Court

0 4 Reinstated or

O 8 Multidistrict
Reopened i

Litigation -
Direct File

O 5 Transferred from
Another District
(specify)

VI. CAUSE OF ACTION

ec. 1002

Cite the U.S. Civil Statute under which you are filing (De not cite dirigtletional statutes unless diversity):
Employee Retirement Income Security Act, 29 U.S.C. 5

Brief description ofcause:
Delinquent Benefit Contributions

 

 

 

 

 

 

VII. REQUESTED IN OC] CHECK IF THIS IS A CLASS ACTION DEMAND $ } BD CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. ~4 wrtve celiel JALAL: JURY DEMAND: Yes No
VII. RELATED CASE(S) ; ;
IF ANY (See instructions): Fue DUCKaT NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
| = 5! u 7 \G Vay Ley Vd i. ~ {—
FOR OFFICE USE ONLY
RECEIPT # AMOUNT JUDGE MAG. JUDGE

APPLYING IFP
Case 2:19-cv-03256-GEKP Document1 Filed 07/25/19 Page 2 of 31

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM

(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

 

 

Address of Plaintiff: See Attached List
Address of Defendant: 4901 Merion Ave., Philadelphia, PA 19131
Place of Accident, Incident or Transaction: Philadel ph ia

 

 

RELATED CASE, IF ANY:

Case Number: Judge: Date Terminated:

 

 

Civil cases are deemed related when Fes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year Yes [| No
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes [| No
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes [| No
numbered case pending or within one year previously terminated action of this court?

4, Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [ | No

case filed by the same individual?

I certify that, to my knowledge, the within case [1 is / [2] is not related to any case now pending or within one year previously terminated action in
this court except as noted above. ~

“+ \

 

\ “) j 4 Y | a ' / ¢ 2 = a
DATE: = 2u-V} Vigasodi [Se — fo 2. 7r3
Attorney-at-Law / Pro Se Plaintiff Attorney LD. # (if applicable)

 

 

CIVIL: (Place a ¥ in one category only)

 

A, Federal Question Cases: B. Diversity Jurisdiction Cases:
oO 1 Indemnity Contract, Marine Contract, and All Other Contracts (J 1. Insurance Contract and Other Contracts
L] 2. FELA L] 2. Airplane Personal Injury
LJ 3. Jones Act-Personal Injury L] 3. Assault, Defamation
LI 4. Antitrust [] 4. Marine Personal Injury
CL] 5. Patent [] 5. Motor Vehicle Personal Injury
6. Labor-Management Relations LJ] 6. Other Personal Injury (Please specify):
Ll] 7. Civil Rights [] 7. Products Liability
[] 8. Habeas Corpus [] 8. Products Liability — Asbestos
[] 9. Securities Act(s) Cases L] 9. All other Diversity Cases
[] 10. Social Security Review Cases (Please specify):
[] Il. All other Federal Question Cases
(Please specify):

 

 

 

 

ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)

' Mariellen D. Bello

, counsel of record or pro se plaintiff, do hereby certify:

 

[| Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

Relief other than monetary damages is sought.

/ PAN \ maf ity |S opel +, 1c
DATE: esa A ea [ nt O37 >
Attorney-at-Law / Pro Se Plaintiff Attorney LD. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

Civ, 609 (5/2018)

 
Case 2:19-cv-03256-GEKP Document1 Filed 07/25/19

Plaintiff List

BOARD OF TRUSTEES OF THE LABORERS'
DISTRICT COUNCIL CONSTRUCTION
INDUSTRY PENSION FUND

PO Box 37003

Philadelphia, PA 19122

LABORERS' DISTRICT COUNCIL
CONSTRUCTION INDUSTRY PENSION FUND
PO Box 37003

Philadelphia, PA 19122

BOARD OF TRUSTEES OF THE LABORERS’
DISTRICT COUNCIL HEAVY AND HIGHWAY
CONSTRUCTION HEALTH AND WELFARE FUND
PO Box 37003

Philadelphia, PA 19122

LABORERS' DISTRICT COUNCIL

HEAVY AND HIGHWAY

CONSTRUCTION HEALTH AND WELFARE FUND
PO Box 37003

Philadelphia, PA 19122

BOARD OF TRUSTEES OF THE LABORERS’
DISTRICT COUNCIL BUILDING AND
CONSTRUCTION HEALTH AND WELFARE FUND
PO Box 37003

Philadelphia, PA 19123

LABORERS' DISTRICT COUNCIL
BUILDING AND CONSTRUCTION HEALTH
AND WELFARE FUND

PO Box 37003

Philadelphia, PA 19123

BOARD OF TRUSTEES OF THE LABORERS’
DISTRICT COUNCIL PREPAID LEGAL SERVICES
FUND

PO Box 37003

Philadelphia, PA 19122

LABORERS' DISTRICT COUNCIL PREPAID

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LEGAL SERVICES FUND
PO Box 37003
Philadelphia, PA 19122

BOARD OF TRUSTEES OF THE LABORERS’
DISTRICT COUNCIL EDUCATION AND TRAINING/
APPRENTICESHIP

FUND

501 Lancaster Pike

Exton, PA 19341

LABORERS' DISTRICT COUNCIL EDUCATION
AND TRAINING/ APPRENTICESHIP FUND

501 Lancaster Pike

Exton, PA 19341

BOARD OF TRUSTEES OF THE LABORERS’
DISTRICT COUNCIL LABORERS-EMPLOYERS
COOPERATION AND EDUCATION TRUST

501 Lancaster Pike

Exton, PA 19341

LABORERS' DISTRICT COUNCIL LABORERS’
EMPLOYERS COOPERATION AND EDUCATION
TRUST

665 North Broad Street, 4° Floor

Philadelphia, PA 19123

CONTRACTORS’ ASSOCIATION OF
EASTERN PENNSYLVANIA

4500 Walnut Street, Suite 1105
Philadelphia, PA 19102

GENERAL BUILDING CONTRACTORS’
ASSOCIATION

36 S. 18" Street

Philadelphia, PA 19103

LABORERS’ DISTRICT COUNCIL REGIONAL,
STATE AND LOCAL HEALTH AND SAFETY FUND
PO Box 37003

Philadelphia, PA 19122

THE LABORERS' DISTRICT COUNCIL
OF THE METROPOLITAN AREA OF
PHILADELPHIA AND VICINITY,

Page 4 of 31
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LABORERS' INTERNATIONAL UNION OF NORTH
AMERICA

665 N. Broad Street

Philadelphia, PA 19123

ALAN R. PARHAM, FUND ADMINISTRATOR
665 N. Broad Street, 2nd FI.
Philadelphia, PA 19123
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM
Board of Trustees of the Laborers’
District Council Construction Industry - CIVIL ACTION
Pension Fund et al. :
Vv.

Haye Construction Services, Inc.

NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track

to which that defendant believes the case should be assigned.
SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255.

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits.

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2.

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos.

(e) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special
management cases.)

(f) Standard Management — Cases that do not fall into any one of the other tracks.

C)

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C)

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C)
(X)

 

 

 

=] <7 bs :a IV\ia ra Of r ) 4 he Plaintiffs
Date Attorney-at-law Attorney for
610 —710 —4510 610 —710 —4520 mbello@swbcounsellors.com
Telephone FAX Number E-Mail Address

(Civ. 660) 10/02
Case 2:19-cv-03256-GEKP Document1 Filed 07/25/19 Page 7 of 31

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

BOARD OF TRUSTEES OF THE LABORERS'

DISTRICT COUNCIL CONSTRUCTION

INDUSTRY PENSION FUND CIVIL ACTION NO.
PO Box 37003 :

Philadelphia, PA 19122

LABORERS’ DISTRICT COUNCIL
CONSTRUCTION INDUSTRY PENSION FUND
PO Box 37003

Philadelphia, PA 19122

BOARD OF TRUSTEES OF THE LABORERS'
DISTRICT COUNCIL HEAVY AND HIGHWAY
CONSTRUCTION HEALTH AND WELFARE FUND
PO Box 37003

Philadelphia, PA 19122

LABORERS' DISTRICT COUNCIL

HEAVY AND HIGHWAY

CONSTRUCTION HEALTH AND WELFARE FUND
PO Box 37003

Philadelphia, PA 19122

BOARD OF TRUSTEES OF THE LABORERS’
DISTRICT COUNCIL BUILDING AND
CONSTRUCTION HEALTH AND WELFARE FUND
PO Box 37003

Philadelphia, PA 19123

LABORERS' DISTRICT COUNCIL
BUILDING AND CONSTRUCTION HEALTH
AND WELFARE FUND

PO Box 37003

Philadelphia, PA 19123

BOARD OF TRUSTEES OF THE LABORERS’
DISTRICT COUNCIL PREPAID LEGAL SERVICES
FUND

PO Box 37003

Philadelphia, PA 19122

 
Case 2:19-cv-03256-GEKP Document1 Filed 07/25/19

LABORERS' DISTRICT COUNCIL PREPAID
LEGAL SERVICES FUND

PO Box 37003

Philadelphia, PA 19122

BOARD OF TRUSTEES OF THE LABORERS’
DISTRICT COUNCIL EDUCATION AND TRAINING/
APPRENTICESHIP

FUND

501 Lancaster Pike

Exton, PA 19341

LABORERS’ DISTRICT COUNCIL EDUCATION
AND TRAINING/ APPRENTICESHIP FUND

501 Lancaster Pike

Exton, PA 19341

BOARD OF TRUSTEES OF THE LABORERS’
DISTRICT COUNCIL LABORERS-EMPLOYERS
COOPERATION AND EDUCATION TRUST

501 Lancaster Pike

Exton, PA 19341

LABORERS' DISTRICT COUNCIL LABORERS'
EMPLOYERS COOPERATION AND EDUCATION
TRUST

665 North Broad Street, 4"° Floor

Philadelphia, PA 19123

CONTRACTORS’ ASSOCIATION OF
EASTERN PENNSYLVANIA

1500 Walnut Street, Suite 1105
Philadelphia, PA 19102

GENERAL BUILDING CONTRACTORS'
ASSOCIATION

36 S. 18" Street

Philadelphia, PA 19103

LABORERS’ DISTRICT COUNCIL REGIONAL,
STATE AND LOCAL HEALTH AND SAFETY FUND
PO Box 37003

Philadelphia, PA 19122

THE LABORERS' DISTRICT COUNCIL
OF THE METROPOLITAN AREA OF

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PHILADELPHIA AND VICINITY,

LABORERS' INTERNATIONAL UNION OF NORTH
AMERICA

665 N. Broad Street

Philadelphia, PA 19123

ALAN R. PARHAM, FUND ADMINISTRATOR

665 N. Broad Street, 2nd FI.
Philadelphia, PA 19123

Plaintiffs

HAYE CONSTRUCTION SERVICES, INC.
4901 Merion Ave.
Philadelphia, PA 19131

Defendant

COMPLAINT
Plaintiffs, by and through their undersigned attorney, hereby file this
Complaint against Haye Construction Services, Inc. (hereafter referred to as
“Defendant Employer’). In support of their claims, Plaintiffs aver as follows:

THE PARTIES

1. The Laborers' District Council Construction Industry Pension Fund
(‘Pension Fund”) is a trust fund established and maintained pursuant to the
provisions of Section 302(c)(5) of the Labor Management Relations Act of 1947, as
amended, ("the LMRA"), 29 U.S.C. §186(c)(5), and an employee benefit plan under
the Employee Retirement Income Security Act of 1974, as amended ("ERISA"), 29
U.S.C. §1002(3). The Board of Trustees of the Pension Fund ("Pension Fund
Trustees") manages and controls the Pension Fund. The Pension Fund Trustees

are fiduciaries within the meaning of section 502(a)(1)(3) of ERISA, 29 U.S.C.,
3
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Section 1132(a)(1)(3). The Pension Fund Trustees, individually and collectively,
bring this action in their fiduciary capacity on behalf of the Pension Fund and its
participants and beneficiaries.

2. The Laborers' District Council Heavy and Highway Construction
Health and Welfare Fund (“H&H Health and Welfare Fund”) is a trust fund
established and maintained pursuant to the provisions of Section 302(c)(5) of the
LMRA, 29 U.S.C. §186(c)(5), and an employee benefit plan under ERISA, 29
U.S.C. §1002(3). The Board of Trustees of the H&H Health and Welfare Fund
(‘H&H Health and Welfare Fund Trustees”) manages and controls the H&H
Health and Welfare Fund. The H&H Health and Welfare Fund Trustees are
fiduciaries within the meaning of section 502(a)(1)(3) of ERISA, 29 U.S.C., Section
4132(a)(1)(3), The H&H Health and Welfare Fund Trustees, individually and
collectively, bring this action in their fiduciary capacity on behalf of the H&H Health
and Welfare Fund and its participants and beneficiaries.

3, The Laborers’ District Council Health and Welfare Fund (“Health

and Welfare Fund”) is a trust fund established and maintained pursuant to the

provisions of Section 302(c)(5) of the LMRA, 29 U.S.C. §186(c)(5), and an

employee benefit plan under ERISA, 29 U.S.C. §1002(3). The Board of Trustees
of the Health and Welfare Fund (“Health and Welfare Fund Trustees”) manages
and controls the Health and Welfare Fund. The Health and Welfare Fund
Trustees are fiduciaries within the meaning of section 502(a)(1)(3) of ERISA, 29

U.S.C., Section 1132(a)(1)(3). The Health and Welfare Fund Trustees, individually

 

 
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and collectively, bring this action in their fiduciary capacity on behalf of the Health
and Welfare Fund and its participants and beneficiaries.

4, The Laborers’ District Council Prepaid Legal Services Fund (“Legal
Services Fund”) is a trust fund established and maintained pursuant to the
provisions of Section 302(c)(5) of the LMRA, 29 U.S.C. §186(c)(5), and an
employee benefit plan under ERISA, 29 U.S.C. §1002(3). The Board of Trustees
of the Legal Services Fund ("Legal Services Fund Trustees") manages and
controls the Legal Services Fund, The Legal Services Fund Trustees are
fiduciaries within the meaning of section 502(a)(1)(3) of ERISA, 29 US.C., §
1132(a)(1)(3). The Legal Services Fund Trustees, individually and collectively,
bring this action in their fiduciary capacity on behalf of the Legal Services Fund
and its participants and beneficiaries.

5. The Laborers’ District Council Education and Training/Apprenticeship
Fund (Training Fund") is a trust fund established and maintained pursuant to the
provisions of Section 302(c)(5) of the LMRA, 29 U.S.C. §186(c)(5), aid an
employee benefit plan under ERISA, 29 U.S.C, §1002(3). The Board of Trustees of
the Training Fund (‘Training Fund Trustees’) manages and controls the Training
Fund. The Training Fund Trustees are fiduciaries within the meaning of section
502(a)(1)(3) of ERISA, 29 U.S.C., Section 4132(a)(1)(3). The Training Fund
Trustees, individually and collectively, bring this action in their fiduciary capacity on
behalf of the Training Fund and its participants and beneficiaries.

6. The Laborers’ District Council Laborers’ Employers’ Cooperation and

Education Trust ("LECET Fund”) is a trust fund established and maintained

 
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pursuant to the provisions of Section 302(c)(5) of the LMRA, 29 U.S.C. §186(c)(5),
and an employee benefit plan under ERISA, 29 U.S.C. §1002(3), The Board of
Trustees of the LECET Fund ("LECET Fund Trustees”) manages and controls the
LECET Fund. The LECET Fund Trustees are fiduciaries within the meaning of
section 502(a)(1)(3) of ERISA, 29 U.S.C., Section 1132(a)(1)(3). The LECET Fund
Trustees, individually and collectively, bring this action in their fiduciary capacity on
behalf of LECET Fund and its participants and beneficiaries.

¥: The Laborers' Philadelphia Area Local Health and Safety Fund
(‘Health and Safety Fund”) is a trust fund established and maintained pursuant to
the provisions of Section 302(c)(5) of the LMRA, 29 U.S.C. §186(c)(5) for the
purpose of providing health and safety benefits through qualified health and safety
benefit programs. Plaintiff Board of Trustees of the Health and Safety Fund (“Health
and Safety Fund Trustees") manages and controls the Health and Safety Fund.
The Health and Safety Fund Trustees are fiduciaries of the Health and Safety Fund
and the Health and Safety Fund Trustees, individually and collectively, bring this
action in their fiduciary capacity on behalf of the Health and Safety Fund and its
participants and beneficiaries.

8, Except for the Health and Safety Fund, each of the aforementioned
Funds is a “multi-employer plan" under ERISA, 29 U.S.C. §1002(37). Each of the
aforementioned Funds maintains its principal place of business in Philadelphia, PA,
with the exception of the Training Fund, which maintains its principal place of
business in Exton, PA. The aforementioned Funds will be hereinafter referred to

collectively as the “Funds.” The Funds, which are employee benefit plans under

 
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ERISA, 29 U.S.C. §1002(3), will be hereinafter referred to collectively as the
“ERISA Funds".

og, Alan R. Parham, 665 N. Broad Street, 2nd Floor, Philadelphia, PA
19123 is the administrator of the Funds.

10. The Contractors Association of Eastern Pennsylvania ("CAEP") is an
association of construction industry contractors and service providers. The CAEP
sponsors and manages the CAEP Industry Advancement Program (“CAEP IAP")
which is funded by contributions required under the Collective Bargaining
Agreement between the CAEP and the Laborers’ District Council.

41. The General Building Contractors Association ("GBCA") is an
association of construction industry contractors and service providers. The GBCA
sponsors and manages the GBCA Industry Advancement Program ("GBCA IAP”)
which is funded by contributions required under the Collective Bargaining
Agreement between the GBCA and the Laborers’ District Council.

42. The Laborers' District Council of the Metropolitan Area of Philadelphia
and Vicinity, Laborers' International Union of North America ("the Union" or
“aborers’ District Council") is an unincorporated labor organization engaged in
representing employees for the purpose of collective bargaining.

43. The Union’s Political Action Committee fund (hereafter “PAC’”) is
funded by employers’ deductions of wages from all employees covered by the
Agreement and contributions are made to the Laborers’ District Council PAC.

44, Defendant Employer is an employer in an industry affecting

commerce within the meaning of Section 301(a) of the LMRA, 29 U.S.C. §185(a),

 

 

 
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and ERISA, 29 U.S.C. §1002(5). Defendant Employer's last known address is 4901
Merion Ave. Philadelphia, PA 19131.
JURISDICTION AND VENUE

45, This Court has jurisdiction over the causes of action alleging a
violation of ERISA pursuant to ERISA, 29 U.S.C. §§1132(a)(3), (d)(1) & 1145. This
Court has jurisdiction over the causes of action alleging a violation of LMRA
pursuant to Section 301(a) of the LMRA, 29 U.S.C. §185(a). This Court has
supplemental jurisdiction over the state law claims pursuant to 28 U.S.C.A.
§1367(a) because the state law claims derive from the same common nucleus of
operative facts as Plaintiffs’ federal law claims.

16. Venue is proper in the Eastern District of Pennsylvania pursuant to 29
U.S.C. §185(a) and 29 U.S.C. §1132(e)(2). The above-identified Funds are
administered in said judicial district and, pursuant to 28 U.S.C. §1391, substantial
parts of the events giving rise to the claims (e.g. performance of the covered work/
projects) are believed to have occurred within this judicial district. In addition, upon
information and belief, the parties regularly conduct business within this judicial
district.

COMMON FACTS

17. Plaintiffs incorporate by reference the allegations contained in
paragraphs 1 through 16.

48. The aforementioned Funds are created and administered pursuant to
the terms of the Trust Agreements that are properly executed pursuant to state and

local law.

 
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49. Since at least October 21, 2016, Defendant Employer was signatory
to, or otherwise bound by, a collective bargaining agreement, and any applicable
amendments and extensions, between the LCA and the Laborers’ District Council
which sets forth, inter alia, the wages, hours, and other terms and conditions of
employment of laborers employed by the Defendant Employer. See e.g. Exhibit A
(hereafter generally referred to as the “LCA CBA’).

20. Since at least July 12, 2016 to date, Defendant Employer was
signatory to, or otherwise bound by, a collective bargaining agreement, and any
applicable amendments and extensions, between the CAEP and the Laborers’
District Council which sets forth, inter alia, the wages, hours, and other terms and
conditions of employment of laborers employed by the Defendant Employer. See
e.g. Exhibit B (hereafter generally referred to as the “CAEP CBA’).

21. Since at least October 21, 2016 to date, Defendant was signatory to,
or otherwise bound by, a collective bargaining agreement, and its amendments and
extensions, between the GBCA and Concrete Contractors’ Association
Classification Building and General Construction and the Laborers’ District Council
which sets forth, infer alia, the wages, hours, and other terms and conditions of
employment of laborers employed by the Defendant. See e.g. Exhibit C (hereafter
generally referred to as the “GBCA CBA").

22. The LCA CBA, CAEP CBA and GBCA CBA (hereafter referred to
collectively as the “Agreements’) automatically renew from year to year unless

each party gives notice in writing to the other party ninety (90) days prior to the

 
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expiration of the term, or of any extended term. To date, neither Plaintiffs nor
Defendant Employer have given such notice of intention to terminate.

23. Defendant Employer also agreed to abide by the terms of
agreements and declarations of trust, as from time to time amended ('Trust
Agreements"), pertaining to Plaintiff Funds and incorporated into the
Agreements. Throughout this Complaint, references to the Agreements include
and incorporate the related Trust Agreements.

24. Pursuant to the Agreements and by virtue of its consent to become
bound by the terms and conditions of employment negotiated by and between the
Associations and the Union covering all work performed within the trade and
geographic jurisdiction of the Union, Defendant Employer is required to remit
reports, contributions, and deductions due for all hours of work performed by its
employees under the Agreements in the preceding month to the Plaintiffs. As of this
date, Defendant Employer is delinquent in its obligations to remit reports,
contributions, and deductions under the LCA CBA, CAEP CBA, and GBCA CBA, at
least for the period February 1, 2019 to the present.

25. Pursuant to the Agreements, related Trust Agreements, delinquency
policy, and/or applicable law, Plaintiffs are entitled to an audit of Defendant
Employer to inspect and make copies of any and all records of the Employer
pertaining to compensation paid to employees, hours worked by employees,
monies withheld from employees for taxes paid on account of employees, and all

other records relevant to, and of assistance in, determining whether the Employer's

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obligations thereunder to make payments to the Fund Depository were faithfully
performed.

26. To date, despite written requests, Defendant Employer has failed or
refused to cooperate with an audit.

27. Despite written notice and repeated demands for the delinquent
amounts due, Defendant Employer has failed to pay the Plaintiffs the full amount
due.

28. Pursuant to the Agreements, related Trust Agreements, delinquency
policy, and/or applicable law, Defendant Employer also agreed to pay and owes the
Plaintiffs accrued interest at the rate provided in the applicable CBA, liquidated
damages, costs of suit and audit, and attorneys' fees and costs, Pursuant to the
Agreements, interest continues and has continued to accrue daily.

29. Defendant Employer also owes the Plaintiffs liquidated damages
which, under applicable law and the collective bargaining agreements, Trust
Agreements, and/or delinquency policy, are at least 10% of the principal.

30. Defendant Employer will also owe the Plaintiffs any audit fees
necessary to ascertain additional amounts owed through judgment.

34. Because Defendant Employer violated its reporting obligations under
the Agreements, the Plaintiffs have been forced to incur additional administrative
and legal expenses in ascertaining the extent of Defendant Employer's violation
and in attempting to correct the arrearage.

32, As long as the delinquent contributions and deductions and

accompanying costs, fines, liquidated damages, and penalties remain unpaid

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and/or continue to accrue, the Plaintiffs lose the benefits of monetary income that
would otherwise be realized if the contributions had been remitted by Defendant
Employer in a timely fashion.

33. These economic losses impair, or may impair, the Funds’ ability to
provide benefits to Defendant Employer's employees and to employees of other
companies that have paid their contributions.

34. Plaintiffs are prejudiced by the failure of Defendant Employer to
timely pay the delinquent amounts.

35. Defendant Employers continued violation of the Agreements
irreparably injures the Funds,

COUNT ONE
CAEP ERISA CLAIM

36. Plaintiffs incorporate by reference the allegations contained in
paragraphs 1-39.

37. Defendant Employer has failed to make reports, contributions, and
deductions to the Plaintiff ERISA Funds in violation of 29 U.S.C. §1146. |

38. Defendant Employer owes the Plaintiff ERISA Funds covered by the
CAEP CBA accurate remittance reports, unpaid contributions, and dexivetionss, as
well as accrued interest, liquidated damages, audit costs, and attorneys’ fees and
costs,

39. Section 502(a)(3)(B)(ii) of ERISA permits the Plaintiff ERISA Funds to
seek equitable enforcement of the terms of the Agreements.

WHEREFORE, Plaintiff ERISA Funds request this Court grant the following

relief:

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(a) that judgment be entered against Defendant Employer
and in favor of all Plaintiff ERISA Funds covered by the CAEP CBA,
as mandated by Section 502(g)(2) of ERISA, 29 U.S.C. §1132(g)(2),
in the amount of total unpaid contributions, deductions, accrued
interest, audit fees, costs, fines, liquidated damages, and penalties
determined to be due and owing to the Plaintiff ERISA Funds before,
during and as a consequence of the pendency of this lawsuit; interest
on the unpaid contributions and deductions at the rate provided under
§502(g)(2) of ERISA, 29 U.S.C. §1132(g)(2); an amount equal to the
greater of (i) interest on the unpaid contributions, or (ii) liquidated
damages as prescribed by the plan, the collective bargaining
agreement(s), and/or by statute; reasonable attorneys' fees and costs
of the action; and

(b) order that Defendant Employer cooperate with an
independent payroll audit conducted by Plaintiffs’ agent; and

(c) such other legal or equitable relief as this Court may
deem appropriate,

COUNT TWO
GBCA ERISA CLAIM

AQ. Plaintiffs incorporate by reference the allegations contained in
paragraphs 1-39.
41. Defendant Employer has failed to make reports, contributions, and

deductions to the Plaintiff ERISA Funds in violation of 29 U.S.C. §1145.

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42. Defendant Employer owes the Plaintiff ERISA Funds covered by the
GBCA CBA accurate remittance reports, unpaid contributions, and deductions, as
well as accrued interest, liquidated damages, audit costs, and attorneys’ fees and
costs.

43, Section 502(a)(3)(B)(ii) of ERISA permits the Plaintiff ERISA Funds to
seek equitable enforcement of the terms of the Agreements.

WHEREFORE, Plaintiff ERISA Funds request this Court grant the following
relief:

(a) that judgment be entered against Defendant Employer
and in favor of all Plaintiff ERISA Funds covered by the GBCA CBA,
as mandated by Section 502(g)(2) of ERISA, 29 U.S.C. §1132(g)(2),
in the amount of total unpaid contributions, deductions, accrued
interest, audit fees, costs, fines, liquidated damages, and penalties
determined to be due and owing to the Plaintiff ERISA Funds before,
during and as a consequence of the pendency of this lawsuit; interest
on the unpaid contributions, and deductions at the rate provided
under §502(g)(2) of ERISA, 29 U.S.C. §1132(g)(2); an amount equal
to the greater of (i) interest on the unpaid contributions, or (ii)
liquidated damages as prescribed by the plan, the collective
bargaining agreement(s), and/or by statute; reasonable attorneys’
fees and costs of the action; and

(b) order that Defendant Employer cooperate with an

independent payroll audit conducted by Plaintiffs’ agent; and

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(c) such other legal or equitable relief as this Court may
deem appropriate.

COUNT THREE
LCA ERISA CLAIM

44, Plaintiffs incorporate by reference the allegations contained in
paragraphs 1-43.

45. Defendant Employer has failed to make reports, contributions, and
deductions to the Plaintiff ERISA Funds in violation of 29 U.S.C. §1145.

46. Defendant Employer owes the Plaintiff ERISA Funds covered by the
LCA CBA accurate remittance reports, unpaid contributions, and deductions, as
well as accrued interest, liquidated damages, audit costs, and attorneys’ fees and
costs.

47. Section 502(a)(3)(B)(ii) of ERISA permits the Plaintiff ERISA Funds to
seek equitable enforcement of the terms of the Agreements.

WHEREFORE, Plaintiff ERISA Funds request this Court grant the following
relief:

(a) that judgment be entered against Defendant Employer
and in favor of all Plaintiff ERISA Funds covered by the LCA CBA, as
mandated by Section 502(g)(2) of ERISA, 29 U.S.C. §1132(g)(2), in
the amount of total unpaid contributions, deductions, accrued interest,
audit fees, costs, fines, liquidated damages, and penalties
determined to be due and owing to the Plaintiff ERISA Funds before,
during and as a consequence of the pendency of this lawsuit; interest

on the unpaid contributions, and deductions at the rate provided

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under §502(g)(2) of ERISA, 29 U.S.C. §1132(g)(2); an amount equal
to the greater of (i) interest on the unpaid contributions, or (ii)
liquidated damages as prescribed by the plan, the collective
bargaining agreement(s), and/or by statute; reasonable attorneys’
fees and costs of the action; and

(b) order that Defendant Employer cooperate with an
independent payroll audit conducted by Plaintiffs’ agent; and

(c) such other legal or equitable relief as this Court may
deem appropriate.

COUNT FOUR
BREACH OF CAEP CBA

48. Plaintiffs incorporate by reference the allegations contained in
paragraphs 1-47.

49. Defendant Employer has failed to make accurate and complete
remittance reports, contributions, and deductions to the Plaintiffs as required by
the CAEP CBA and therefore owes the Plaintiffs the reports, contributions, and/or
deductions as well as audit fees, accrued interest, liquidated damages, and
attorneys’ fees and costs.

50. Defendant Employer's failure to make the required — timely
contributions and deductions and its failure to comply with its obligation to send to
the Plaintiffs remittance reports that fully, accurately, and completely report the
hours of work performed by its employees under the CAEP CBA is a breach of

contract and is subject to § 301 of the LMRA, 29 U.S.C. § 185(a).

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51. The Plaintiffs covered by the CAEP CBA have been damaged by

the failure of the Defendant Employer to make contributions and deductions and

submit accurate remittance reports as required by the Agreement.

WHEREFORE, Plaintiffs request this Court grant the following relief:

(a)

(b)

(c)

that judgment be entered against Defendant Employer and in
favor of all Plaintiffs covered by the CAEP CBA in the amount
of total unpaid contributions, deductions, accrued interest,
audit fees, costs, fines, liquidated damages, and penalties
determined to be due and owing to the Plaintiffs before, during
and as a consequence of the pendency of this lawsuit; plus
any additional amounts which are found to be due and owing
during the pendency of this litigation including, but not limited
to, accrued interest, audit fees, and attorneys' fees incurred in
this action or in the collection and enforcement of any
judgment, as provided by the Agreement; and

order that Defendant Employer cooperate with an independent
payroll audit conducted by Plaintiffs’ agent; and

such other legal or equitable relief as this Court may deem
appropriate.

COUNT FIVE
BREACH OF GBCA CBA

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52. Plaintiffs incorporate by reference the allegations contained in
paragraphs 1-51.

53, Defendant Employer has failed to make accurate and complete
remittance reports, contributions, and deductions to the Plaintiffs as required by
the GBCA CBA and therefore owes the Plaintiffs the reports, contributions,
and/or deductions as well as audit fees, accrued interest, liquidated damages,
and attorneys’ fees and costs.

54. Defendant Employer's failure to make the required timely
contributions and deductions and its failure to comply with its obligation to send to
the Plaintiffs remittance reports that fully, accurately, and completely report the
hours of work performed by its employees under the GBCA CBA is a breach of
contract and subject to § 301 of the LMRA, 29 U.S.C. § 185(a).

55. The Plaintiffs covered by the GBCA CBA have been damaged by
the failure of the Defendant Employer to make contributions and deductions and

submit accurate remittance reports as required by the Agreement,

WHEREFORE, Plaintiffs request this Court grant the following relief:

(a) that judgment be entered against Defendant Employer and in
favor of all Plaintiffs covered by the GBCA CBA in the amount
of total unpaid contributions, deductions, accrued interest,
audit fees, costs, fines, liquidated damages, and penalties
determined to be due and owing to the Plaintiffs before, during
and as a consequence of the pendency of this lawsuit; plus
any additional amounts which are found to be due and owing

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during the pendency of this litigation including, but not limited
to, accrued interest, audit fees, and attorneys’ fees incurred in
this action or in the collection and enforcement of any
judgment, as provided by the Agreement; and

(b) order that Defendant Employer cooperate with an independent
payroll audit conducted by Plaintiffs’ agent, and

(c) such other legal or equitable relief as this Court may deem
appropriate.

COUNT SIX
BREACH OF LCA CBA

56. Plaintiffs incorporate by reference the allegations contained in
paragraphs 1-55.

57. Defendant Employer has failed to make accurate and complete
remittance reports, contributions, and deductions to the Plaintiffs as required by
the LCA CBA and therefore owes the Plaintiffs the reports, contributions, and/or
deductions as well as audit fees, accrued interest, liquidated damages, and
attorneys’ fees and costs.

58. Defendant Employer's failure to make the required — timely
contributions and deductions and its failure to comply with its obligation to send to
the Plaintiffs remittance reports that fully, accurately, and completely report the
hours of work performed by its employees under the LCA CBA is a breach of

contract and subject to § 301 of the LMRA, 29 U.S.C. § 185(a).

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59, The Plaintiffs covered by the LCA CBA have been damaged by the

failure of the Defendant Employer to make contributions and deductions and

submit accurate remittance reports as required by the Agreement.

WHEREFORE, Plaintiffs request this Court grant the following relief:

(a)

(c)

that judgment be entered against Defendant Employer and in
favor of all Plaintiffs covered by the LCA CBA in the amount of
total unpaid contributions, deductions, accrued interest, audit
fees, costs, fines, liquidated damages, and penalties
determined to be due and owing to the Plaintiffs before, during
and as a consequence of the pendency of this lawsuit; plus
any additional amounts which are found to be due and owing
during the pendency of this litigation including, but not limited
to, accrued interest, audit fees, and attorneys’ fees incurred in
this action or in the collection and enforcement of any
judgment, as provided by the Agreement; and

order that Defendant Employer cooperate with an independent
payroll audit conducted by Plaintiffs’ agent; and

such other legal or equitable relief as this Court may deem

appropriate.

COUNT SEVEN

CAEP AND UNION THIRD PARTY BENEFICIARY CLAIM

60. Plaintiffs incorporate by reference the allegations contained in

paragraphs 1 through 59 as if set forth in their entirety herein.

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61. The CAEP and the Union are intended third party beneficiaries of
the Agreement. |

62. Defendant Employer was required under the terms and conditions
of the Agreement to remit reports, contributions, and/or deductions to the CAEP,
the CAEP IAP, the Union, and/or the PAC,

63, Defendant Employer's failure to make the required timely reports,
contributions, and/or deductions and its failure to comply with its obligation to send
remittance reports to the Plaintiffs that fully, accurately, and completely report the
hours of work performed by its employees under the Agreement is a breach of
contract and the CAEP and/or the Union have been deprived of the benefit flowing
therefrom to which they are entitled.

WHEREFORE, Plaintiffs CAEP and the Union request this Court
enter judgment in their favor and against Defendant Employer and order that
Defendant Employer cooperate with an independent payroll audit conducted by the
Plaintiffs’ agent and enter judgment against Defendant Employer and in favor of the
CAEP and the Union in the amount of total unpaid contributions and deductions,
accrued interest, audit fees, costs, fines, liquidated damages, and penalties
determined to be due and owing to the CAEP and the Union before, during and as
a consequence of the pendency of this lawsuit; plus any additional amounts which
are found to be due and owing during the pendency of this litigation including, but
not limited to, accrued interest, audit fees, and attorneys’ fees incurred in this action

or in the collection and enforcement of any judgment, as provided by the

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Agreement; and that the Court award the CAEP and the Union such other legal or
equitable relief as this Court may deem appropriate.

COUNT EIGHT
GBCA AND UNION THIRD PARTY BENEFICIARY CLAIM

64. Plaintiffs incorporate by reference the allegations contained in
paragraphs 1 through 65 as if set forth in their entirety herein.

65. The GBCA and the Union are intended third party beneficiaries of
the Agreement.

66. Defendant Employer was required under the terms and conditions
of the Agreement to remit reports, contributions, and/or deductions to the GBCA,
the GBCA IAP, the Union, and/or the PAC.

67. Defendant Employer’s failure to make the required timely reports,
contributions, and/or deductions and its failure to comply with its obligation to send
remittance reports to the Plaintiffs that fully, accurately, and completely report the
hours of work performed by its employees under the Agreement is a breach of
contract and the GBCA and/or the Union have been deprived of the benefit flowing
therefrom to which they are entitled.

WHEREFORE, Plaintiffs GBCA and the Union request this Court
enter judgment in their favor and against Defendant Employer and order that
Defendant Employer cooperate with an independent payroll audit conducted by the
Plaintiffs’ agent and enter judgment against Defendant Employer and in favor of the
GBCA and the Union in the amount of total unpaid contributions and deductions,
accrued interest, audit fees, costs, fines, liquidated damages, and penalties

determined to be due and owing to the GBCA and the Union before, during and as

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a consequence of the pendency of this lawsuit; plus any additional amounts which
are found to be due and owing during the pendency of this litigation including, but
not limited to, accrued interest, audit fees, and attorneys' fees incurred in this action
or in the collection and enforcement of any judgment, as provided by the
Agreement; and that the Court award the GBCA and the Union such other legal or
equitable relief as this Court may deem appropriate.

COUNT NINE
DEMAND FOR AUDIT

 

68. Plaintiffs incorporate by reference the allegations contained in
paragraphs 1-67.

69, The Agreements, related Trust Agreements, and delinquency
policies authorize the Trustees’ auditors to audit the Employers bound by the
Agreements.

70. Unless an updated audit of Defendant Employer is performed,
Plaintiffs will not have sufficient information or knowledge to plead the precise
nature, extent, and amount of Defendant Employer’s delinquency through
judgment.

WHEREFORE, Plaintiffs request the Court:

(a) To order Defendant Employer, its officers, employees,
representatives, and/or agents to permit an audit by the Plaintiffs’ auditor of all
records under the Defendant Employer's actual or constructive control and, in the
absence of said records, to cooperate fully in alternative method(s) for the

determination of work for which contributions are due; and

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(b) To grant such other relief as this Court deems just,

necessary, and appropriate.

SUSANIN WIDMAN & BRENNAN, PC

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By: (Widder be. KOS
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mbello@swbcounsellors.com

Attorney for Plaintiffs

 

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CERTIFICATE OF SERVICE

th

|, Mariellen Bello, Esquire, do hereby certify that on this oll day

of July , 2019, | caused a true and correct copy of the foregoing

Complaint fo be served upon the following persons by U.S. mail, postage prepaid:

Secretary of Labor
200 Constitution Avenue, NW
Washington, DC 20224

and

Secretary of Treasury
1500 Pennsylvania Avenue, NW
Washington D.C, 20220

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Ait dr Lon
Mariellen Bello

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